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     Attorney for Defendant Blake
 6
 7                    IN THE UNITED STATES DISTRICT COURT
 8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9   UNITED STATES OF AMERICA,          )
                                        )       Cr. No. 2:03-cr-00371-MCE
10           Plaintiff,                 )
                                        )       STIPULATION AND ORDER
11      v.                              )       CONTINUING SENTENCING
                                        )       (to May 31, 2007 before
12    BRENT BLAKE,                      )        Judge England)
                                        )
13                                      )
             Defendant,                 )
14   ___________________________________)
15        This matter is now set for sentencing on May 3, 2007.           Because
16   the Defense needs additional time to respond to the Government’s
17   request for upward departure, it is STIPULATED between the parties
18   that sentencing may be continued to May 31, 2007 at 9:00 AM.           It
19   appears that this continuance will also promote judicial economy
20   since the co-defendant, Derek Maddox is already set for sentencing
21   on that date.
22   Dated May 4,2007
23   Respectfully submitted,
24       /s/ William S. Wong                         /s/ J. Toney
25   Assistant U.S. Attorney                   Attorney for Defendant Blake
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 1                               ORDER
 2   Good cause appearing, sentencing in this matter is continued to May
 3   31, 2007 at 9:00 AM.
 4
     Dated: May 8, 2007
 5
 6                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
 7
                                         UNITED STATES DISTRICT JUDGE
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